             Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 1 of 23




                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO




Misti Lynn Willis on her on
behalf      and      as     the
representative, Executor and
Administratix of the Estate
of Jeremy Shea Willis; The            CIVIL NO.
Estate of Jeremy Shea Willis
composed of Misty Lynn Willis
and her minor children A
Willis;   B    Willis   and   C
Willis; Holly M. Willis

       Plaintiffs
v.

WYNDHAM GRAND RIO MAR BEACH           Plaintiffs demand Trial by Jury
RESORT & SPA; WYNDHAM
WORLDWIDE CORPORATION; RIO MAR
RESORT- WHG HOTEL PROPERTY,
LLC; WHM CARIB, LLC; RIO MAR
RESORT – MTG COMPANY LLC;
AIRBNB, Inc.; MARGARITAVILLE
VACATION CLUB BY WYNDHAM,
INC.; LIBERTY MUTUAL FIRE
INSURANCE COMPANY; CHUBB
INSURANCE COMPANY; ACE
INSURANCE COMPANY; W and X
CORP, Y and Z INSURANCE
Companies

      Defendants
                                                     COMPLAINT

     TO THE HONORABLE COURT:

          COME NOW the plaintiffs Misti Lynn Willis, the estate of

     Jeremy Shea Wilis, and Misti Lynn Willis in her capacity of
          Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 2 of 23




executor, administratix and member of the estate of Jeremy Shea

Willis,    composed of Misti Lynn Willis and her minor children A

Willis; B Willis and C Willis; and Holly M. Willis, and before

this Honorable Court respectfully allege and pray as follows:

     I.    THE PARTIES

     1.    Plaintiff, Misti Lynn Willis, is of legal age, she is

the widow of Jeremy Shea Willis, and the mother of minors A

Willis; B Willis and C Willis.       Jeremy Shea Willis was the father

of said minors.

     2.    All above named plaintiffs mentioned in averment one

are domiciled in the State of South Carolina and are the legal

heirs of Jeremy Shea Willis, who died tragically by drowning in

Rio Grande, in    the ocean in front of the WYNDHAM GRAND RIO MAR

BEACH RESORT & SPA on March 4, 2021.

     3.    The ESTATE OF JEREMY SHEA WILLIS composed of all of the

plaintiffs mentioned in averment one, is a co-plaintiff to this

action and for diversity of jurisdiction purposes, it is also

domiciled in the State of South Carolina.

     4.    Misti Lynn Willis is the administrator and executrix of

the estate of Jeremy Shea Willis pursuant to the laws of the

State of South Carolina and the representative of her minor

children A Willis, B Willis and C Willis.
          Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 3 of 23




     5.    Holly M. Willis is the mother of Jeremy Shea Willis,

she is single and domiciled in the State of Florida.

     6.      Defendant, WYNDHAM GRAND RIO MAR BEACH RESORT & SPA

(Hereinafter referred to as “Wyndham Grand.”) is the commercial

name of the hotel owned and/or operated by one or more of the

named defendants to this action as further described herein,

located at 6000 Rio Mar Boulevard, Rio Grande, Puerto Rico.

     7.    Defendant, WYNDHAM WORLDWIDE CORPORATION, is a

corporation organized and existing under the laws of the State of

Delaware with its principal place of business in Parsippany-Troy

Hills, New Jersey. Upon information and belief, it is the owner

and/or holding company for all hotel facilities and operations,

to include the Wyndham Grand facilities were the accident

described in this complaint occurred.         It is the entity that

ultimately earns the profits of all of its hotel operations, to

include the hotel Wyndham Grand Rio Mar Beach Resort & Spa, and

thus, it is also responsible to the plaintiffs as further

described below.

8.   Defendant, RIO MAR RESORT- WHG HOTEL PROPERTY, LLC is a

Limited Liability Company organized and existing under the laws

of the State of Delaware that has its principal place of business

in the State of New Jersey. Upon information and belief, it owns

the hotel facilities of Wyndham Grand and/or is the administrator
           Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 4 of 23




and/or operator and/or manager of the same.           In any of these

capacities, it is also responsible to the plaintiffs for damages

and accidents suffered caused by negligence, and as further

described in this complaint.


     9.     Defendant, WHM CARIB, LLC, (Hereinafter referred to as

“WHM Carib”) is a corporation organized and existing under the

laws of the State of Delaware with its principal place of

business in Parsippany-Troy Hills, New Jersey. Upon information

and belief, it owns the facilities of Wyndham Grand and/or is the

administrator and/or operator and/or manager of the same.              In any

of these capacities, it is also responsible to the plaintiffs for

damages and accidents suffered caused by negligence.


     10.    Rio Mar Resort -MTG Company, LLC, (Hereinafter referred

to as “Rio Mar MTG”, is a corporation organized and existing

under the laws of the State of Delaware with its principal place

of business in Parsippany-Troy Hills, New Jersey. Upon

information and belief, it owns the facilities of Wyndham Grand

and/or is the administrator and/or operator and/or manager of the

same.   In any of these capacities, it is also responsible to the

plaintiffs for damages and accidents suffered caused by

negligence.
           Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 5 of 23




     11.    Codefendant, Airbnb, Inc. (“Airbnb”) is a Delaware

corporation that manages and operates an online marketplace for

hospitality services, with principal offices located in the State

of California. Airbnb offers lodging, homestays, and tourism

services to individuals via websites and mobile applications in

exchange for economic benefit from property owners like one or

more of the Wyndham Rio Mar (further described below) defendants

mentioned in this complaint.


     12.    Airbnb serves clients worldwide.         The hotel

accommodations used by the Willis family were promoted and booked

via Airbnb and were rented via the use of the Airbnb platform to

the Willis family. Airbnb received compensation for promoting a

property that was unsafe.       At the very least, and since it would

be deriving a profit from the Willis family stay, it is also

responsible to the plaintiffs for the accident, since it should

ensure that the property it contracts to promote, is safe for

clients like the Willis family or that pertinent information

regarding the property was provided to the Willis family either

by it or the owner of the hotel facilities used to accommodate

the Willis family.


     13.    MARGARITAVILLE VACATION CLUB BY WYNDHAM, INC.,

(“Margaritaville”) is a corporation organized under the laws of
           Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 6 of 23




the U.S. Virgin Islands that is the owner, manager and/or the

operator of certain hotel and accommodation facilities within the

Rio Mar Wyndham Grand, that at the timeframe of the accident

described in this complaint, served as the hotel room

accommodations for Misti Lynn Willis and her husband Jeremy Shea

Willis, prior to his passing. Margaritaville rented the room to

the Willis family via the Airbnb platform.


     14.    Margaritaville shares all hotel facilities with Wyndham

Grand, and their guests have full access to all such hotel

facilities to include the beach area.


     15.    By information and/or believe, co Defendant, LIBERTY

MUTUAL FIRE INSURANCE COMPANY, (Hereinafter referred to as

“Liberty”) is an insurance carrier organized and existing under

the laws of the Commonwealth of Massachusetts with its principal

place of business therein, who had issued one or more insurance

policies in favor of one or more of the named defendants to cover

events and damages as described in this complaint.


     16.    By information and/or believe, co Defendant, CHUBB

INSURANCE COMPANY (Hereinafter referred to as CHUBB) AND/OR ACE

PROPERTY AND CASUALTY INSURANCE COMPANY,(Hereinafter referred to

as “ACE”) are an insurance carriers organized and existing under

the laws of the Commonwealth of Pennsylvania with its principal
           Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 7 of 23




place of business therein, who had issued one or more commercial

liability policies in favor of one or more of the named

defendants to cover events and damages as described in this

complaint.

     17.     W   and X CORP, are the fictitious names utilized to

denominate other corporate entities that together with the rest

of the defendants are also responsible for the accident described

in this complaint and all damages caused to the plaintiffs to

suffer. Once their identities are known, the complaint may be

amended to substitute and properly name said unknown defendants.

     18.     Y and Z INSURANCE are the fictitious names used to

denominate one or more insurance companies that at the time of

the occurrence of the event that cost Mr. Willis his life, had

issued and had in effect one or more insurance policies to cover

the liability of one or more of the named defendants in this

action.    Once their identities are known, the complaint may be

amended to substitute the fictitious names with the proper names

of said insurance company defendants.

     19.     All above named defendants, and the Margaritaville

named defendant, except Airbnb and the named insurance companies

in this complaint are referred collectively as the “Wyndham Rio

Mar” defendants.
              Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 8 of 23




                           JURISDICTION AND VENUE

        20.    This Court has jurisdiction pursuant to 28 U.S.C.,

Section 1332(a)(1) because this is an action for damages between

citizens of different states and the amount in controversy

exceeds $75,000.00, exclusive of interest, costs, and attorney’s

fees.

     21.       Pursuant to 28 U.S.C., Section 1391(a)(2), venue of

this action is proper in this district because the events, acts

or omissions giving rise to the claims occurred in this district.

                                       FACTS

        22.    Co-plaintiff Misti Lynn Willis and her husband             Jeremy

Shea Willis,        on January, 2021 booked a vacation through the

business portal of Airbnb,Inc., at Margaritaville, Wyndham Rio

Mar, Rio Grande Puerto Rico, part of the Wyndham Grand hotel

facilities, in order to celebrate their wedding anniversary in

Puerto Rico.        The stay at Margaritaville was programed to be from

February 27, 2021 until March 4, 2021.

        23.    As part of the facilities promoted by Airbnb to entice

the booking and to be used by the “Wyndham Rio Mar” guests, was

the use of the beach and ocean located contiguously to the

premises – a beach resort.           Beach rental equipment, jet skis,

chairs and towels and other amenities were available for the use

all hotel patrons and pictures and information enticing the use
           Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 9 of 23




of the beach facilities and amenities, appeared in the hotel

website and promotional material viewed by the Willis family.


     24.    What was not promoted to Misti and her husband by the

defendants, was the dangerous condition of the ocean in front of

the beach resort of the “Wyndham Rio Mar”.           Said information was

omitted by the defendants.


     25.    One or more of the Wyndham Rio Mar defendants actively

promoted the use of the beach, conducted business related

activities at the beach either directly or through

concessionaires for profit, and exercised control of the beach

area by placing chairs, umbrellas, flags, etc. The beach area is

an attraction that the Wyndham Rio Mar uses to promote and entice

more business from hotel patrons, to include Misti and her

husband Jeremy.

     26.      On the morning of March 4th, 2021, Misti and her

husband Jeremy, shortly after sunrise went to the beach.               Jeremy

wanted to swim and snorkel in the ocean prior to their departure.

     27.    Jeremy entered the ocean just before 9AM to go

snorkeling. Shortly after entering the ocean, Misti lost sight of

her husband.     She immediately alerted the hotel and hotel guests

that were in the beach area and desperately requested assistance

to locate her husband.
       Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 10 of 23




     28.   After 9.45 AM, a lifeguard appeared to also assist in

the search. Shortly thereafter, jet skis, the police, helicopters

and the Coast Guard joined in the search.

     29.   Jeremy’s lifeless body was eventually found around

11.30 AM, to the right side of the entry point he used to gain

entry into the ocean.   At the time of his demise, Jeremy was 41

years of age, a father of three minors, and a husband to Misti.

He was employed and was in the process of assuming a higher

paying job, having completed the training required for this new

work challenge.

                        LIABILITY OF THE DEFENDANTS

     30.   All the Wyndham Rio Mar defendants are innkeepers under

Puerto Rico law.   As Innkeeper’s and as per Puerto Rico law, the

Wyndham Rio Mar defendants have a heightened duty of care towards

guests. As Innkeeper’s, owners, operators and managers of the

hotel facilities, the Wyndham Rio Mar defendants are required to

maintain its premises in such condition so that their guests do

not suffer foreseeable injuries.

     31.   As per the following averments, all the Wyndham Rio Mar

defendants were negligent, did not provide adequate warnings to

prevent the incident that cost the life of Mr. Willis and failed

to properly warn and act.    Said defendants failed in providing a
       Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 11 of 23




heightened duty of care and protection to its guests, and, in

particular, failed in providing the same to the Willis family.

     32.    Although the day of the incident the ocean in front of

the hotel seemed calmed and no warning flags were seen by Mr. and

Mrs. Willis, Wyndham Rio Mar defendants knew or should have known

of the presence of dangerous rip currents in the area.         Just as

important, with no adequate warning signs present, all the

Wyndham Rio Mar defendants should have known that hotel guests

would go swimming in the ocean in front of the hotel,

particularly during daylight hours.

     33.    Prior to the tragic events of March 4, 2021, various

other accidents had occurred in front of the Wyndham Rio Mar

hotel facilities, to include another drowning incident.         Legal

cases have been brought against one or more of the Wyndham Rio

Mar defendants concerning the dangerous rip currents present in

the area.

     34.    Just two days before the occurrence of the accident,

another drowning occurred, yet, the Wyndham Rio Mar Defendants,

aware of this previous incident, took no proactive steps to warn

their business patrons staying at the hotel – their hotel

invitees - of the dangerous condition of the ocean: The presence

of rip currents and the dangers that said rip currents represent.
       Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 12 of 23




     35.   The Wyndham Rio Mar defendants failed to warn and to

communicate to their patrons the presence of rip currents – a

very dangerous condition.

     36.   By failing to act and to communicate, the Wyndham Rio

Mar defendants, and their employees, failed to exercise due

diligence to avoid foreseeable risks to its hotel patrons and

failed in executing their obligations as Innkeepers.

     37.   Airbnb, Inc. promoted the Margaritaville hotel

facilities to the Willis family.     Airbnb, Inc. derived an

economic benefit by promoting the Margaritaville facilities.

Yet, Airbnb, Inc. failed to inquire and ensure that it was

providing all the information regarding the safety of the

facilities and that their patrons were properly warned of the

risks that may be present in the beach resort that was promoted

for the use of the Willis family.

     38.   Airbnb, Inc. with the rest of the defendants, and in

particular Wyndham World Wide, should have ensured that they were

promoting safe facilities or that they at least did a reasonable

effort to advise guests of the dangers that may be present in

said promoted facilities.    Airbnb and Windham World Wide failed

to warn and to act.

     39.   Under the economic benefit theory, the Airbnb and

Wyndham World Wide defendants are also responsible to the
       Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 13 of 23




plaintiffs for the damages suffered, since they ultimately each

enjoyed a profit to the expense of the Willis family and failed

to warn the Willis family of known dangers present.

     40.    Although all the Defendants knew or should have known

that there were dangerous rip currents present in the water

adjacent to the hotel since at least March 2, 2021, the Wyndham

Rio Mar defendants failed to ensure that proper rip current

warnings were placed on the beach area and that their hotel

guests were properly warned prior to and the date of the

accident.

     41.    Although the Defendants knew or should have known that

there were dangerous rip currents present in the water adjacent

to the hotel since at least March 2, 2021, the Wyndham Rio Mar

defendants failed to provide adequate warnings to their guests of

the heighted safety peril before the events that resulted in the

death of Mr. Willis. The Wyndham Rio Mar defendants could have

easily and at little or no cost provided warnings to the Willis

family and the rest of the hotel guests.       Yet they were lax and

failed to warn and act.

     42.    Said Wyndham Rio Mar defendants had the knowledge of

the dangerous condition present in the Ocean - rip currents - ,

not only because of the previous accidents involving drowning and

rip currents in the ocean in front of their facilities, but by
          Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 14 of 23




information made available to the hotel by others.            The Wyndham

Rio Mar defendants knowingly and negligently failed to share said

knowledge involving the presence of dangerous rip currents with

their guests.

     43.    Although the Defendants knew or should have known that

there were dangerous rip currents present in the water adjacent

to the hotel since at least March 2, 2021, all the Wyndham Rio

Mar defendants failed to monitor the same and to provide timely

and adequate warnings to their guests regarding the presence of

this dangerous condition. The Wyndham Rio Mar defendants could

have easily and at little or no cost provided effective warnings

to the Willis family and the rest of the hotel guests by various

means.    Yet, they failed to act and provide the knowledge and

information regarding the presence of dangerous rip currents.

     44.    All the defendants failed to warn of the dangerous

conditions that rip currents represent.          At the time of the

accident, even though they had the ability to do so at little or

no cost to them, the Wyndham Rio Mar defendants failed to provide

daily warnings of weather conditions, adequate safety signs,

notices, adequate warnings of the dangers of rip currents,

informational flyers and other communications to their hotel

guests.
       Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 15 of 23




     45.   The Wyndham Rio Mar defendants, failed to provide life

guards and adequate notices indicating the presence of Rip

Currents and the dangers that rip currents represent at the beach

area, and in particular the possibility of drownings.

     46.   At the same time, prior to the incident that cost Mr.

Willis his life, defendants failed to place appropriate specific

flags indicating the presence of rip currents, monitor the same

and information of how to identify, avoid and/or escape rip

currents and the danger that rip currents represent.

     47.   All the defendants new or should have known the dangers

present in the Wyndham Rio Mar facilities, yet they chose to

ignore the dangerous conditions.     Particularly the Wyndham Rio

Mar defendants were aware of the dangerous rip currents in the

ocean in front of the Wyndham Rio Mar facilities and of a very

recent death.    The Wyndham Rio Mar defendants failed to act and

opted not to warn their hotel patrons of the dangerous condition

present, even though they had the knowledge, the ability and the

means to warn.   They simply directly and/or through their

employees, negligently failed to act. The Wyndham Rio Mar

defendants and their employees are also responsible to the

plaintiffs for failing to act and take proactive steps to avoid

the tragedy that cost Mr. Willis his life.
        Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 16 of 23




48.   At all times material hereto the Defendants and their

employees, as owners, managers, administrators and/or operators

of the Wyndham Rio Mar    beach facilities used by the Willis

family, had a heightened duty of care obligation to look after

and ensure the safety and well-being of their paying guest, like

the Willis family.    By being lax, ignoring the dangerous

condition of rip currents present in front of the hotel

facilities and by failing to warn guests and act in the presence

of rip currents, a dangerous condition known to Wyndham Rio Mar

defendants and their employees, they failed in their duty of care

towards hotel patrons like Mr. and Mrs. Willis, and to exercise

due diligence so that guests could avoid the dangerous condition

that rip currents represent.


49.   More specifically, as Hotel innkeeper’s and with the

knowledge that rip currents were present in the beach area of the

hotel at the time of the Willis family stay, the Wyndham

defendants and their employees failed in:


          a   Monitoring and operating a designated beach area in

              a reasonably safe manner.

          b   To have a proper warning system for rip currents

              and/or other dangerous conditions for hotel patrons

              such as in room television warnings; brochures,
Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 17 of 23




      flyers, news letters, adequate warning signs, rip

      current warning flags, etc.

  c   To warn guests of the hotel, including the

      Plaintiffs, on how to identify and avoid rip

      currents, and how to escape rip currents once

      exposed to said danger.

  d   To adequately monitor, train their employees, agents

      and servants on how to properly conduct ocean

      rescues and/or rip current rescues, and rescues of

      near drowning victims.

  e   To provide life guards or other security personnel

      with water rescue training for the benefit of hotel

      guests that the Defendants knew or should have known

      would be using the Wyndham Rio Mar beach facilities.

  f   By failing to establish and follow proper safety

      processes when rip current conditions are present.

  g   By failing to explain the possibility of drowning

      caused by rip currents and adequate notices of such

      a hazard – a very real danger that had cost the life

      of another person that same week.
          Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 18 of 23




                                    DAMAGES

     50.    As a direct and proximate result of the wrongful and/or

negligent acts and omissions of the Defendants, as stated above,

the decedent, Jeremy Shea Willis, died tragically as a result of

drowning.

     51.    By information and believe, and since Jeremy drowned,

he suffered prior to his demise.        The mental anguish and pain

suffered by Jeremy prior to and at the moment of his death, is

transmitted to all the heirs of Mr. Willis and is compensable as

per the Civil Code of Puerto Rico.         Said damages are reasonably

estimated in a sum in excess of $1,000,000.00.

     52.    As a direct and proximate result of the wrongful and/or

negligent acts and omissions of all the Defendants as stated

above that caused the death of her husband, Plaintiff, Misti Lynn

Willis,    has in the past and will continue to suffer into the

future mental anguish, depression, sadness and severe emotional

distress at losing her husband.

     53.    She was present in the beach when she saw her husband

enter the ocean and when       the lifeless body of Jeremy was found.

She no longer enjoys various activities and pleasures of life

that she was able to enjoy with her husband.          She feels alone,

depressed, angry and deeply saddened.         She is experiencing and

will continue to experience into the future, depression, mental
        Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 19 of 23




anguish, loss of companionship, affection, and support that her

husband provided.

      54.   She also suffers for her children since they will no

longer have the care and affection of their father due to the

negligence actions of all the defendants as previously averred.

55.   All her mental anguish damages because of this accident due

to the negligence of the defendants is compensable under the

provisions of the Civil Code of Puerto Rico and are reasonable

estimated in a sum in excess of TWO MILLION DOLLARS

($2,000,000.00)

      56.   As a result of the accident, A Willis, B Willis and C

Willis will no longer have the love and affection and

companionship of their father.      They will not be able to partake

in several activities that each enjoyed with their father.           The

loss of their father due to this tragic accident and the mental

anguish for each of them due to the negligence of all of the

defendants and their employees is compensable under the

provisions of the Civil Code of Puerto Rico, and is reasonably

estimated in a sum of not less than FIVE HUNDRED THOUSAND DOLLARS

($500,000) for each.

      57.   Holly M. Willis is the mother of Jeremy.        She is

emotionally destroyed at the loss of her son.         Jeremy was her

only male son.    She feels sad, depressed, and helpless, since she
       Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 20 of 23




had a very close relationship with her son.       She is a widow and

she depended on Jeremy for assistance. She no longer enjoys his

company and his constant support.     She is also very sad since her

daughter in law lost her husband and her grandchildren their

father. Her damages are reasonably estimated in a sum in excess

of $500,000.

     58.   At the time of the demise of Jeremy Shea Willis, Mr.

Willis was gainfully employed and provided considerable monetary

support to his family.   The family depended on his income to

support and sustain a certain standard of living.        Jeremy, after

receiving training, had accepted an offer of employment that

would increase substantially his past earnings.        Because of his

untimely death, all the members of the estate will suffer

economic damages since said income that Mr. Willis provided will

no longer be available to support them.

     59.   The members of his estate are entitled to receive

compensation for the economic support lost and that they would

have received if Mr. Willis had not lost his life in this tragic

accident due to the negligence of the defendants and their

employees.

     60.   Economic damages that the members of the estate of Mr.

Jeremy Shea Willis are entitled to receive as compensation under

the provisions of the Civil Code of Puerto Rico is reasonable
       Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 21 of 23




estimated in a sum in excess of SEVEN HUNDRED AND FIFTY THOUSAND

DOLLARS ($750,000).

     61.   As a result of this tragic accident, the estate of Mr.

Willis has had to incur and continues to incur unwanted economic

damages that could have been avoided and/or covered and/or

reimbursed by the defendants.     Said damages are reasonably

estimated in a sum in excess of TWENTY-FIVE THOUSAND DOLLARS

($25,000), a sum that is also due by all the defendants to the

plaintiffs as per the provisions of the Civil Code of Puerto Rico

regarding damages and compensation.

     62.   All of the named Defendants and their employees as per

the dispositions of the new Civil Code of Puerto Rico regarding

damages, direct and vicarious liability, are jointly and

severally liable to the Plaintiffs for all of the damages caused.


                      FURTHER COMPENSATION - ARTICLE 1538, Act No.

                      55-2020, Civil Code of Puerto Rico (the “New

                      Civil Code”).


     63.   Under the provisions of Article 1536 of the Civil Code

of Puerto Rico, all plaintiffs are entitled to be compensated

jointly by all the defendants for all damages caused to suffer

because of negligence as alleged in this complaint.
        Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 22 of 23




     64.   Pursuant to Article 1538 of the Civil Code of Puerto

Rico, plaintiffs request that the total amount of compensation

awarded by a jury be doubled, if a jury determines, based on the

factual and evidence presented at trial, that one or more of the

defendants and/or their employees acted or failed to act

knowingly, intentionally and with gross disregard to the safety

and well-being of the Willis family.


     65.   Named defendants LIBERTY, CHUBB, ACE and unknown

insurance carriers referred to in this complaint who also had in

effect insurance policies covering one or more of the defendants,

are by virtue of the respective insurance policies also

responsible to the plaintiffs for all damages suffered, up to the

insurance coverage limits provided as per the insurance policies

in effect at the time of the accident.

     66.   Plaintiffs demand trial by jury as to all claims

asserted herein.


     WHEREFORE, the Plaintiffs request the entry of judgment in

their favor and against all Defendants condemning them to pay

jointly and severally all the damages and amounts claimed herein,

together with interest, costs, and attorney’s fees.
       Case 3:21-cv-01515 Document 1 Filed 10/22/21 Page 23 of 23




    In San Juan, Puerto Rico this       21st   day of October, 2021.

RESPECTFULLY SUBMITTED

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                          & Fernandini, PSC
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